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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
LULA WILLIAMS, et al.,
Plaintiffs,
Vv. Civil Action No. 3:17-cv-461
BIG PICTURE LOANS, LLC, et al.,
Defendants.
ORDER
It is hereby ORDERED that all proceedings in this case are
stayed pending resolution of Martorello’s interlocutory appeal.
See PETITION FOR PERMISSION TO APPEAL UNDER RULE 23(f), ECF No.

1119-2.

It is so ORDERED.

sp (eS

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: August 4. 2021
